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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                   X

UNITED STATES OF AMERICA
                                                           PRELIMINARY ORDER OF
               - V. -                                      FORFEITURE AS TO SPECIFIC
                                                           PROPERTY/
ROBERT MENENDEZ,                                           MONEY JUDGMENT

                        Defendant.                         S4 23 Cr. 490 (SHS)

----------------------------------                   X

               WHEREAS, on or about March 5, 2024, ROBERT MENENDEZ, (the

"Defendant"), among others, was charged in sixteen counts of an eighteen-count Superseding

Indictment, S4 23 Cr. 490 (SHS), (the "Indictment"), with conspiracy to commit bribery, in

violation of Title 18, United States Code, Section 371 (Count One); conspiracy to commit honest

services fraud , in violation of Title 18, United States Code, Section 1349 (Count Two); conspiracy

to commit extortion under color of official right, in violation of Title 18, United States Code,

Section 1951 (Count Three); conspiracy to commit obstruction of justice, in violation of Title 18,

United States Code, Section 3 71 (Counts Four and Seventeen); bribery, in violation of Title 18,

United States Code, Sections 20l(b)(2)(A) and (C), and 2 (Counts Five and Eleven); honest

services wire fraud , in violation of Title 18, United States Code, Sections 1343, 1346, and 2

(Counts Seven, Nine and Thirteen); extortion under color of official right, in violation of Title 18,

United States Code, Sections 1951 and 2 (Counts Eight, Ten and Fourteen); conspiracy for a public

official to act as a foreign agent, in violation of Title 18, United States Code, Section 371 (Count

Fifteen); public official acting as foreign agent, in violation of Title 18, United States Code,

Sections 219 and 2 (Count Sixteen); and obstruction of justice, in violation of Title 18, United

States Code, Sections 1503 and 2 (Count Eighteen);
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               WHEREAS, the Indictment included a forfeiture allegation as to Counts One

through Five, Seven through Eleven, Thirteen, Fourteen, Seventeen, and Eighteen of the

Indictment seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section

981(a)(l)(C) and Title 28, United States Code, Section 2461(c), of any and all property, real and

personal, that constitutes or is derived from proceeds traceable to the commission of the offenses

charged in Counts One through Five, Seven through Eleven, Thirteen, Fourteen, Seventeen, and/or

Eighteen of the Indictment, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of the offenses charged in Counts

One through Five, Seven through Eleven, Thirteen, Fourteen, Seventeen, and/or Eighteen of the

Indictment that the Defendant personally obtained and, inter alia, the following specific property:

               a.      The residence of Menendez and Nadine Menendez in Englewood Cliffs,
                       New Jersey (the "Englewood Cliffs Premises");

               b.      A 2019 Mercedes-Benz-C-Class C300 automobile, vehicle identification
                       number WDDWK8EB7KF873859 (the "Mercedes");

               c.      A sum of $486,461 in United States currency seized from the Englewood
                       Cliffs Premises on or about June 16, 2022;

               d.      A sum of $79,760 in U.S. currency seized from safe deposit box no.13 at
                       Chase bank located at 50 Grand Avenue, Englewood, New Jersey 07631
                       (the "Safe Deposit Box") on or about June 16, 2022;

               e.      Two one-kilogram gold bars seized from the Englewood Cliffs Premises on
                       or about June 16, 2022 (the "Kilogram Bars");

               f.      Eleven one-ounce gold bars seized from Englewood Cliffs Premises on or
                       about June 16, 2022 (the "One Ounce Bars"); and

               g.      A Vision Fitness Elliptical (the "Elliptical");




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               WHEREAS, on or about July 16, 2024, following a jury trial, the Defendant was

found guilty of Counts One through Five, Seven through Eleven, and Thirteen through Eighteen

of the Indictment;

               WHEREAS, the Government asserts that $922,188.10 in United States currency

represents property constituting, or derived from proceeds traceable to the commission of the

offenses charged in Counts One through Five, Seven through Eleven, Thirteen, Fourteen,

Seventeen, and Eighteen of the Indictment that the Defendant personally obtained, for which the

Defendant is joint and severally liable with co-defendant Nadine Menendez, to the extent a

forfeiture money judgment is entered against her in this case;

               WHEREAS, the Government seeks the entry of a money judgment in the amount

of $922,188. l O in United States currency representing the amount of proceeds traceable to the

offenses charged in Counts One through Five, Seven through Eleven, Thirteen, Fourteen,

Seventeen, and Eighteen of the Indictment that the Defendant personally obtained;

               WHEREAS, the Government further seeks the forfeiture of the Defendant of all his

right, title and interest in the following property which constitutes proceeds traceable to the

offenses charged in Counts One through Five, Seven through Eleven, Thirteen, Fourteen,

Seventeen, and/or Eighteen of the Indictment, that the Defendant personally obtained:

               a.     The Mercedes ;

               b.     The following seized currency from the Englewood Cliffs Premises on June
                      16, 2022:

                         1.   $10,000 in U.S. currency seized from an envelope and logged into
                              the FBI's Evidence Management System under numbers 1B28 and
                              1B73 ;



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               11.   $9,100 in U.S. currency seized from an envelope and logged into
                     the FBl's Evidence Management System under numbers 1B34 and
                     1B78;

              111.   $7,400 in U.S. currency seized from an envelope and logged into
                     the FBl's Evidence Management System under numbers 1B35 and
                     1B79;

              1v.    $5,300 in U.S. currency seized from an envelope and logged into
                     the FBl's Evidence Management System under numbers 1B49 and
                     1B84;

               v.    $9,500 in U.S. currency seized from an envelope and logged into
                     the FBI's Evidence Management System under numbers 1B44 and
                     1B86;

              v1.    $10,000 in U.S. currency seized from an envelope and logged into
                     the FBI's Evidence Management System under numbers 1B58 and
                     1B88;

             v11.    $1,200 in U.S. currency seized from an envelope and logged into
                     the FBI's Evidence Management System under numbers 1B64 and
                     1B90;

            viii.    $7,500 in U.S. currency seized from an envelope and logged into
                     the FBI's Evidence Management System under numbers 1B 19 and
                     1B70;

              ix.    $700 in U.S. currency seized from an envelope and logged into the
                     FBI's Evidence Management System under numbers 1B64 and
                     1B90;

              x.     $1 ,350 in U.S. currency seized from an envelope and logged into
                     the FBI's Evidence Management System under numbers 1B64 and
                     1B90;

             xi.     $95,000 in U.S. currency seized from a yellow plastic bag and
                     logged into the FBl's Evidence Management System under number
                     1B43;

             x11.    $100,000 in U.S. currency seized from a paper bag and logged into
                     the FBI's Evidence Management System under number 1B37;




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             x111.   $5 ,350 in U.S . currency located in a right red shoe in the basement
                     and logged into the FBI's Evidence Management System under
                     number IB23 ;

             xiv .   $20,000 in U.S. currency seized located in a left red shoe in the
                     basement and logged into the FBI's Evidence Management System
                     under number IB26;

              xv .   $7,000 in U.S. currency located in a left brown boot in the
                     basement and logged into the FBI's Evidence Management System
                     under number IB72 and IB22;

             xvi .   $11 ,000 in U.S. currency seized from a manila envelope and
                     logged into the FBI ' s Evidence Management System under
                     numbers IB28 and 1B73;

            xvii .   $6,000 in U.S. currency seized from an envelope found in a black
                     leather jacket and logged into the FBI's Evidence Management
                     System under numbers IB29 and IB74 ; and

            xv111.   $4,300 in U.S. currency seized from an envelope located in a
                     Congressional Hispanic Caucus jacket in the basement and logged
                     into the FBI's Evidence Management System under numbers I B30
                     and 1B75.

       c.    The following currency seized from the Safe Deposit Box:

                i.   $30,000 in U.S. currency seized from envelopes and logged into the
                     FBI's Evidence Management System under numbers IB 13 and
                     1B94; and

               ii.   $44,200 in U.S. currency seized from envelopes and logged into
                     the FBI' s Evidence Management System under numbers I B 13 and
                     1B94.

       d.    The Kilogram Bars, more particularly described as follows :

                i.   A one-kilogram Swiss Bank gold bar bearing serial number 590005;
                     and

               11.   A one-kilogram Metaux Precieux SA Metalor gold bar bearing
                     serial number 890581.

       e.    The One Ounce Bars, more particularly described as follows:

                1.   A one-ounce Asahi gold bar bearing serial number A 124806;
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                        11.   A one-ounce Asahi gold bar bearing serial number Al24824;

                        HJ.   A one-ounce Credit Suisse gold bar bearing serial number 162424;

                        1v.   A one-ounce Credit Suisse gold bar bearing serial number 938081 ;

                         v.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143952 ;

                        v1.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143957 ;

                       v11.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143959 ;

                      vn1.    A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143961 ;

                        ix.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143962;

                         x.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143963 ; and

                        x1.   A one-ounce Valcambi Suisse gold bar bearing serial number
                              AA143974

                       x11.   A one-ounce Asahi gold bar bearing serial number A124818 ;

                      x111.   A one-ounce Asahi gold bar bearing serial number Al24819 ;

                      xiv.    A one-ounce Asahi gold bar bearing serial number Al 24820;

                       xv .   A one-ounce Asahi gold bar bearing serial number Al24825 ; and

                      xvi.    A one-ounce Asahi gold bar bearing serial number Al 25992.

               f.      The Elliptical, more particularly described as: One Vision Fitness
                       S71 00HRT Sus pension Trainer; and

               g.      One Blueair Classic 605 air purifier;

(a. through,., collectively, the "Specific Property"); and




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                WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules

32.2(b)(3), and 32.2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now

entitled, pending any assertion of third-party claims, to reduce the Specific Property to its

possession and to notify any and all persons who reasonably appear to be a potential claimant of

their interest herein;

        NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

                I.       As a result of the offenses charged in Counts One through Five, Seven

through Eleven, Thirteen, Fourteen, Seventeen, and Eighteen of the Indictment, of which the

Defendant was found guilty, a money judgment in the amount of $922,188.10 in United States

currency (the "Money Judgment"), representing the amount of proceeds traceable to the offenses

charged in Counts One through Five, Seven through Eleven, Thirteen, Fourteen, Seventeen, and

Eighteen of the Indictment that the Defendant personally obtained for which the Defendant is

jointly and severally liable with co-defendant Nadine Menendez, to the extent a forfeiture money

judgment is entered against her in this case, shall be entered against the Defendant.

                2.       As a result of the offenses charged in Counts One through Five, Seven

through Eleven, Thirteen, Fourteen, Seventeen, and Eighteen of the Indictment, of which the

Defendant was found guilty, all of the Defendant' s right, title and interest in the Specific Property

is hereby forfeited to the United States for disposition in accordance with the law, subject to the

provisions of Title 21 , United States Code, Section 853.

                3.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture as to Specific Property/Money Judgment is final as to the




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Defendant, ROBERT MENENDEZ, and shall be deemed part of the sentence of the Defendant

and shall be included in the judgment of conviction therewith.

                4.      All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable to the United States Marshals Service, and

delivered by mail to the United States Attorney's Office, Southern District of New York, Attn:

Illicit Finance and Money Laundering Unit, 26 Federal Plaza, 38 th Floor, New York, New York

I 0278 and shall indicate the Defendant's name and case number.

                5.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment into the Assets Forfeiture Fund, and the United States shall have clear

title to such forfeited property.

                6.      Upon entry of this Preliminary Order of Forfeiture as to Specific

Property/Money Judgment, the United States (or its designee) is hereby authorized to take

possession of the Specific Property and to hold such property in its secure custody and control.

                7.      Pursuant to Title 21, United States Code, Section 853(n)(l), Rule 32.2(6)(6)

of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United

States   is permitted     to   publish   forfeiture       notices   on the   government   internet site,

www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally

published in newspapers. The United States forthwith shall publish the internet ad for at least thirty

(30) consecutive days. Any person, other than the Defendant, claiming interest in the Specific

Property must file a Petition within sixty (60) days from the first day of publication of the Notice




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on this official government internet web site, or no later than thirty-five (35) days from the mailing

of actual notice, whichever is earlier.

                8.      The published notice of forfeiture shall state that the petition (i) shall be for

a hearing to adjudicate the validity of the petitioner's alleged interest in the Specific Property, (ii)

shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and

extent of the petitioner's right, title or interest in the Specific Property, the time and circumstances

of the petitioner's acquisition of the right, title and interest in the Specific Property, any additional

facts supporting the petitioner's claim, and the relief sought, pursuant to Title 21, United States

Code, Section 853(n).

                9.      Pursuant to 32.2 (b )(6)(A) of the Federal Rules of Criminal Procedure, the

Government shall send notice to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in the ancillary proceeding.

                10.     Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture with respect to the Specific Property pursuant to Title 21, United States Code,

Section 853(n), in which all interests will be addressed. All Specific Property forfeited to the

United States under a Final Order of Forfeiture shall be applied towards the satisfaction of the

Money Judgment.

                11.     Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

                12.     Pursuant to Rule 32.2(b )(3) of the Federal Rules of Criminal Procedure, the

United States Attorney's Office is authorized to conduct any discovery needed to identify, locate

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or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               13.    The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture as to Specific Property/Money Judgment, and to amend it as necessary, pursuant to Rule

32.2 of the Federal Rules of Criminal Procedure.




HON             • I NEY H. STEIN
UNI               S DISTRICT JUDGE
